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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION



JEFFERY JACKSON,

       Movant,

v.                                            Case No. CV616-088
                                                       CR612-018
UNITED STATES OF AMERICA


     Respondent.

                                      ORDER


       After a careful de novo review of the record in this case, the Court concurs with

the Magistrate Judge's Report and Recommendation, to which no objections have been

filed. Accordingly, the Report and Recommendation of the Magistrate Judge is adopted

as the opinion of the Court.

       SO ORDERED this /?clav of ^P^A                       •2016.



                                        UNITED STATES DISTRICT JUDGE
                                        SOJ0THERN DISTRICT OF GEORGIA
